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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                              :
                                                      :
               v.                                     :
                                                      :       CASE NO. 22 Cr. 070 (RDM)
LUCAS DENNEY,                                         :
                                                      :
                       Defendant.                     :


                                   JOINT STATUS REPORT

       The United States of America, by and through the United States Attorney, hereby submits

this joint status report, pursuant to the Court’s July 21, 2022 Order.

                FACTUAL BACKGROUND AND PROPOSED SCHEDULE

       On March 17, 2022, the defendant, Lucas Denney, pled guilty to a one-count Indictment

charging him with Assaulting, Resisting, or Impeding Certain Officers Using a Dangerous

Weapon, in violation of 18 U.S.C. §§ 111(a)(1) and (b).       At the sentencing hearing on July 21,

2022, the Court inquired as to the parties’ positions on certain issues and the parties requested that

the hearing be continued in order to address those issues.    The parties report as follows:

       (1) The parties have reviewed the transcript of the plea colloquy conducted by the Court

           on March 17, 2022 (“Tr.”) and believe that it lays out a sufficient factual basis for the

           defendant’s guilty plea.   In particular, the defendant admitted:

               a. First, the defendant assaulted, resisted, opposed, impeded, intimidated, or

                    interfered with Sgt. K.K., an officer from the Metropolitan Police Department.

                    See Tr. at 24:23-25:2 (THE COURT: “So did you in fact assault, resist, oppose,

                    impede, intimidate or interfere with an officer or employee of the United States

                    in the performance of that officer or employee's official duties?” THE
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           DEFENDANT: “Yes, sir.”)

       b. Second, the defendant did such acts forcibly. See Tr. at 25:3-25:4 (THE

           COURT: “And did you do so forcibly?” THE DEFENDANT: “Yes, sir.”).

       c. Third, the defendant did such acts voluntarily and intentionally. See Tr. at

           26:10-26:11 (THE COURT: “And did you do so intentionally?” THE

           DEFENDANT: “Yes, sir.”).

       d. Fourth, the person assaulted, resisted, opposed, impeded, intimidated, or

           interfered with was assisting officers of the United States who were then

           engaged in the performance of their official duties. See Tr. at 26:5-26:9 (THE

           COURT “[D]id you do so while the officer or person who was assisting the

           officer was engaged in his or her official duties?” THE DEFENDANT: “Yes,

           sir.”).

       e. Fifth, in doing such acts, the defendant used a deadly or dangerous weapon or

           inflicted bodily injury. See Tr. (THE COURT: “And do you also acknowledge

           that the pipe you hit the officer with was a dangerous weapon?” THE

           DEFENDANT: “Yes, sir.”).

(2) The parties are working on a Joint Statement of Offense to submit to the Court in

   advance of the continued hearing, but have not yet reached an agreement.   The parties

   propose to file any Joint Statement of Offense by August 19, 2022.

(3) The defendant has not decided whether to withdraw the affidavit attached to his July

   14, 2022 sentencing submission, sign the affidavit under oath, or submit a revised

   affidavit.

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(4) After conferring with the Court’s deputy, the parties propose to continue the hearing

   on September 28, 2022 at 2:00 p.m. The parties anticipate that the hearing will take

   three to four hours, depending on the final Joint Statement of Offense and will

   immediately update the Court if the anticipated time frame changes.

(5) The parties propose the following schedule for supplemental sentencing statements,

   including the applicability of the 4-point enhancement for use of a dangerous weapon

   pursuant to U.S.S.G. § 2A2.2(b)(2)(B):

       a. Government brief due September 2, 2022;

       b. Defense response due September 9, 2022;

       c. Government reply, if any, due September 14, 2022.

                                     Respectfully submitted,

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